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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 5:21-cv-01475-CAS (SK) Date October 4, 2021

 

 

Title Raynard Davis v. Federal Bureau of Prisons et al.

 

Present: The Honorable Steve Kim, United States Magistrate Judge

 

 

 

Connie Chung n/a
Deputy Clerk Court Smart / Recorder
Attorneys Present for Plaintiff: Attorneys Present for Defendant(s):
None present None present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

Plaintiff originally filed this Bivens lawsuit in the Colorado District Court, which
transferred the case here. (ECF 1). While the Colorado court forwarded Plaintiffs application
to proceed in forma pauperis, Plaintiff's application is—and always was—incomplete. The trust
account statement submitted by Plaintiff was never certified by prison officials as required by
28 U.S.C. § 1915. The “Certificate of Prison Official” form is blank and unsigned. (ECF 2 at 4).

Therefore, Plaintiff is ORDERED TO SHOW CAUSE on or before Wednesday
November 3, 2021, why his in forma pauperis application should not be denied for failure to
submit a certified trust account statement. To discharge this order, Plaintiff need only file a
signed “Certificate of Prison Official” for his trust account statement for the last six months.
Failure to do so or to file any other timely response to this order may lead to involuntary
dismissal of this action for failure to prosecute. See Fed. R. Civ. P. 41(b); L.R. 41-1.

IT IS SO ORDERED.

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